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                                                                              United States Bankruptcy Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                        November 12, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                              §
                                    §                CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA,         §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
A. KELLY WILLIAMS, MOUNTAIN         §
BUSINESS CENTER, LLC, RANDY W       §
WILLIAMS CH7 TRUSTEE, OTISCO RDX §
LLC, MCITBE, LLC, JETALL/CROIX      §
PROPERTIES LP, JETALL/CROIX GP,     §
LLC,                                §
                                    §
        Defendants.                 §

                         ORDER DENYING MOTION TO ABATE

       This matter is before the Court on the Emergency Motion to Abate Proceeding and Compel
Payoff Amounts (ECF No. 315) filed by Defendant Ali Choudhri, pro se. This motion is denied
for the following reasons.




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           First, movant is pro se, but has been advised in a prior order1 that Bankruptcy Local Rule
9013-1(h) requires that a proposed order be attached to the motion.2
           Second, this Court is generally opposed to the abatement of any proceedings. Internally, in
chambers, the Court works from a calendar on which all deadlines, hearings and trials are
scheduled. Abated cases are not on the Court’s calendar and are therefore not subject to scheduling
or future internal review by chambers, therefore the internal procedural processes of this Court do
not favor abatement in any matter or case.
           Further, this adversary proceeding was filed on August 1, 2023, and is currently about 15
months old. Trial dates are hard settings, reserved exclusively for the trial of this case, and are
generally never reset or continued.
           Finally, movant’s request to compel payoff amounts goes to the substance of the allegations
in the Complaint and the Supplemental Complaint and may be premature, as those amounts may
be determined at the trial of this case. Of course, the parties are free to settle those issues prior to
the trial.
           THEREFORE, IT IS ORDERED that the Emergency Motion to Abate Proceeding and
Compel Payoff Amounts (ECF No. 315) is denied.
             SIGNED 11/12/2024


                                                               ___________________________________
                                                               Jeffrey Norman
                                                               United States Bankruptcy Judge




1
    ECF No. 297
2
    “Each motion, application, objection, and response filed with the court must be accompanied by a proposed order.”
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